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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

 Full Caption in District Court:                               Docket No.: 3:24 - cv - 01098 ZNQ TJB

      Andy Kim in his personal capacity as a candidate for US Senateet al
              (Plaintiff)                              Judge: Zahid N Quraishi

               v.                                              Notice of Appeal to the
      Christine Giordano Hanlan et al                          U.S. Court of Appeals for the
               (Defendant)                                     Third Circuit



        Notice is hereby given that   Albert Harshaw
                                                    (Named Party)
        appeals to the United States Court of Appeals for the Third Circuit from

        [ ] Judgment, [ ] Order, [ ] Other   See attachment
                                                       (Specify)
        of the United States District Court, District of New Jersey, entered in this action on
        30 March 2024                           .
        (Date)



 Dated: 01 April 2024                                 Albert Harshaw
                                                      Appellant
                                                      1716 Red Feather Trail
                                                      Street
                                                      Browns Mills NJ 08015
                                                      City, State, Zip
                                                      848.326.0207
                                                      Telephone
